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@AO 245B (Rev. 11/14 D/CO) Judgment in a Criminal Case

 

 

 

 

Sheet |
UNITED STATES DISTRICT COURT
District of COLORADO
UNITED STATES OF AMERICA . JUDGMENT IN A CRIMINAL CASE
V.
EUGENE CHAVEZ

Case Number: 15-cr-00149-RM-4
USM Number: 41083-013
Thomas Richard Ward, Appointed.
Defendant’s Attorney

THE DEFENDANT:

X] pleaded guilty to Count 1 of the Superseding Indictment
[-] pleaded nolo contendere to Count(s)

 

which was accepted by the Court.
[] was found guilty on Count(s)

 

after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
18 U.S.C. § 286 Conspiracy to File False Claims for Refund : 05/05/2014 1
The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
[[] The defendant has been found not guilty on Count(s)

 

Counts 2-13, 15-29, and 31-33 of the Superseding Indictment are dismissed as to this defendant, with prejudice, on the motion of the
™' United States. .

. It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

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Date of Imposition of “ee
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Raymond P, Moore, U.S. District Judge
Name and Title of Judge

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Date
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AO 245B (Rev. 11/14 D/CO) Judgment in Criminal Case
Sheet 2 — Imprisonment

Judgment — Page 2 of 6
DEFENDANT: EUGENE CHAVEZ
CASE NUMBER: 15-cr-00149-RM-4

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
fifty-one (51) months

X} The court makes the following recommendations to the Bureau of Prisons:

The defendant’s sentence is to be served consecutively to Jefferson County District Court case numbers 06CR3766 and
14CR2932. The court recommends the defendant be placed at an appropriate level facility within the District of Colorado
and further recommends that he be allowed to participate in the RDAP program for treatment of drug abuse.

X| The defendant is remanded to the custody of the United States Marshal.

[-] The defendant shall surrender to the United States Marshal for this district:

C at oO am. L] p.m. on

[-] as notified by the United States Marshal.

 

[-] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
[] before 12 p.m. on
[-] as notified by the United States Marshal.
[[] as notified by the Probation or Pretrial Services Office.

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL

 

DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 11/14 D/CO) Judgment in a Criminal Case
Sheet 3 — Supervised Release

 

 

Judgment—Page 3 of _ 6
DEFENDANT: EUGENE CHAVEZ
CASE NUMBER: 15-cr-00149-RM-4
SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: three (3) years

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
[-] The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of

future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

OO kk w

The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the -
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician, Except as,
authorized by court order, the defendant shall not possess, use or sell marijuana or any marijuana derivative (including THC) in any
form (including edibles) or for any purpose (including medical purposes). Without the prior permission of the probation officer, the

defendant shall not enter any marijuana dispensary or grow facility;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer,

11) _ the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court;

13) _ as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal

record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant’s compliance with such notification requirement; and

14) the defendant shall provide access to any requested financial information.
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Sheet 3C —~ Supervised Release
Judgment—Page 4 of 6
DEFENDANT: EUGENE CHAVEZ
CASE NUMBER: 15-cr-00149-RM-4

SPECIAL CONDITIONS OF SUPERVISION

The defendant shall participate in and successfully complete a program of testing and/or treatment for substance abuse,
as approved by the probation officer, until such time as the defendant is released from the program by the probation
officer. The defendant shall abstain from the use of alcohol or other intoxicants during the course of treatment and shall
pay the cost of treatment as directed by the probation officer.

The defendant shall participate in and successfully complete a program of mental health treatment, as approved by the
probation officer, until such time as the defendant is released from the program by the probation officer. The defendant
shall pay.the cost of treatment as directed by the probation officer.

Defendant shall remain medication compliant and shall take all medications that are prescribed by his treating
psychiatrist. Defendant shall cooperate with random blood tests as requested by his treating psychiatrist and/or

supervising probation officer to ensure that a therapeutic level of his prescribed medications is maintained.

The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
officer, unless the defendant is in compliance with the periodic payment obligations imposed pursuant to the Court’s
judgment and sentence.

The defendant shall not associate with or have contact with any known gang members or any person he has reason to

believe is a gang member, and shall not participate in gang activity, to include displaying gang paraphernalia.
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AO 245B (Rev. 11/14 D/CO) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

Judgment — Page 5 of 6
DEFENDANT: EUGENE CHAVEZ
CASE NUMBER: 15-cr-00149-RM-4

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 100.00 $ 0.00 $ $311,732.43
[] The determination of restitution is deferred until _ An Amended Judgment in a Criminal Case (AO 245C) will be

entered after such determination,
[] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately, proportioned. ayment, unless specified otherwise
in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid

before the United States is pai
Name of Payee Total Loss* Restitution Ordered Priority or Percentage
IRS

RAC
Attn; Mail Stop, Restitution
333 West Pershing Avenue $311,732.43 $311,732.43
Kansas City, MO 64108

TOTALS $ $311,732.43 $ $311,732.43

[] Restitution amount ordered pursuant to plea agreement $

[1 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(. All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

_ IX] The Court determined that the defendant does not have the ability to pay interest and it is ordered that:
[X] the interest requirement is waived for the [1 fine [XI restitution.

[-] the interest requirement for the C1 fine (1 restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AQ 245B (Rev. 11/14 D/CO) Judgment in a Criminal Case
Sheet 6 — Schedule of Payments

Judgment — Page 6 of 6
DEFENDANT: EUGENE CHAVEZ
CASE NUMBER: 15-cr-00149-RM-4

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A (J Lump sum payment of $ due immediately, balance due

[] not later than ,0

f
[]_ in accordance L] C, ID, E, or C1 F below; or

B_ |X] Payment to begin immediately (may be combined with Lic, 1p, or Xlr below); or
Cc [] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D [] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or
E [1 Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from

imprisonment. The Court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F  [X] Special instructions regarding the payment of criminal monetary penalties:
The defendant shall make restitution as follows: $311,732.43 to IRS RACS; Attn: Mail Stop 6251, Restitution; 333 West
Pershing Avenue, Kansas City, MO 64108. The special assessment and restitution obligation are due immediately. Any unpaid
ease from inc

monetary obligations upon re arceration shall be paid in monthly installment payments during the term of supervised
release, The monthly installment payment will be calculated as at least 10 percent of the defendant’s gross monthly income.

Unless the Court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal monetary penalties is due durin

imprisonment. All criminal monetary penalties, excépt those payments made through the Federal Bureau of Prisons’ Inmate Financia
Responsibility Program, are made to the clerk of the Court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[Xx] Joint and Several
Raul Caraveo, 15-cr-00149-1; Pamila Lucero, 15-cr-00149-2; Sabrina Caraveo, 15-cr-00149-3; Carolina Aragon, 15-cr-

00149-5; Christina Portillos, 15-cr-00149-6; Conrad Archuleta,, 15-cr-00149-7; Nancy Guzman, 15-cr-00149-8 and
Melanie Palumbo, 15-mj-01100-MEH

The defendant shall pay the cost of prosecution.

The defendant shall pay the following Court cost(s):

OOO

The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and Court costs.
